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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MAYOR AND CITY COUNCIL OF                            )
BALTIMORE,                                           )
                                                     )
                       Plaintiff                     )
                                                     )
                                                          Civil Action No. 18-cv-3636 (ELH)
               v.                                    )
                                                     )
JOSEPH R. BIDEN JR., President, et al.               )
                                                     )
                       Defendants                    )

   JOINT STATUS REPORT IN RESPONSE TO NOVEMBER 16, 2021, ORDER AND
         DEFENDANTS’ UNOPPOSED MOTION TO STAY PROCEEDINGS

       The parties are filing this joint status report in response to the Court’s November 16,

2021, Order, ECF No. 167, which granted the defendants’ request for a further stay of

proceedings and called for a status report by February 14, 2022. The defendants request that the

Court extend the stay of proceedings for 90 days (to May 16, 2022) as discussed further below.

       In this action, plaintiff Mayor and City Council of Baltimore, Maryland, challenges two

actions of the Department of State that relate to the “public charge” provision of the Immigration

and Nationality Act, 8 U.S.C. § 1182(a)(4)(A): (1) revisions made in January 2018 to a section of

the Department of State Foreign Affairs Manual, 9 FAM § 302.8, and (2) an October 2019

interim final rule, Visas: Ineligibility Based on Public Charge Grounds, 84 Fed. Reg. 54,996

(Oct. 11, 2019) (codified at 22 C.F.R. § 40.41). Neither of the challenged actions is currently

being applied. The January 2018 guidance was superseded by new guidance reflecting the

October 2019 rule and is no longer in use. The U.S. District Court for the Southern District of

New York entered a preliminary injunction barring enforcement of both of the challenged actions

in July 2020. See Make the Road N.Y. v. Pompeo, 475 F. Supp. 3d 232, 271 (S.D.N.Y. 2020). The

defendants filed an appeal from the July 2020 preliminary injunction, but the parties stipulated to
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dismissal of the appeal. See Mandate, Make the Road N.Y. v. Pompeo, Docket No. 20-3214

(S.D.N.Y. July 6, 2021), ECF No. 118.

       The defendants previously advised the Court that, on February 2, 2021, the President

issued an Executive Order calling for the Secretary of State to review agency actions related to

implementation of the public charge ground of inadmissibility. Exec. Order No. 14,012, 86 Fed.

Reg. 8277 (Feb. 2, 2021).

       On November 17, 2021, in light of changed circumstances since the publication of the

October 2019 rule, the Department of State published a notice in the Federal Register soliciting

additional information from the public and reopening the comment period for 60 days. See Visas:

Ineligibility Based on Public Charge Grounds, 86 Fed. Reg. 64,070 (Nov. 17, 2021). The

additional comment period closed on January 18, 2022. The Department of State is reviewing the

comments received and considering next steps.

       In light of the Executive Order, the review the Department of State is conducting under

the Order, and the further anticipated action described above, the defendants request that the

Court extend the stay of proceedings for 90 days (to May 16, 2022). The plaintiffs do not oppose

the request if the Court provides for the stay to expire automatically in the event that the

preliminary injunction in Make the Road New York is lifted. The defendants do not object to that

condition.

       A proposed order is attached.

Date: February 14, 2022                         Respectfully submitted,

Jane Lewis #20981                               BRIAN D. NETTER
Assistant Solicitor                             Deputy Assistant Attorney General

CITY OF BALTIMORE DEPARTMENT                    BRIGHAM BOWEN
OF LAW                                          Assistant Branch Director
City Hall, Room 109



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